         Case 1:20-cv-10745-ALC Document 30 Filed 04/14/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 RAHUL D. MANCHANDA,

                Plaintiff,
                                                           NOTICE OF MOTION
        v.
                                                           20 Civ. 10745 (ALC)
 INTERNAL REVENUE SERVICE, UNITED
 STATES GOVERNMENT,

                Defendants.



       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Defendants Internal Revenue Service and United States Government’s (“Defendants”) Motion

to Dismiss the Amended Complaint, the Declaration of Mary-Ellan Krcha, dated April 6, 2021

(with accompanying exhibits), and the Declaration of Alex Lau, dated April 8, 2021, Defendants,

by their attorney, Audrey Strauss, United States Attorney for the Southern District of New York,

hereby move this Court for an order dismissing the Amended Complaint pursuant to Rules 12(b)(1)

and 12(b)(6) of the Federal Rules of Civil Procedure.


Dated: April 14, 2021
       New York, New York
                                            AUDREY STRAUSS
                                            United States Attorney for the
                                            Southern District of New York
                                            Attorney for Defendants

                                            /s/ Jeffrey Oestericher
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